
ON PETITION FOR REHEARING AND SUGGESTION FOR REHEARING EN BANC
(Opinion February 12, 1997, 5 Cir., 1997, 105 F.3d 1017) .
BY THE COURT:
A member of the Court in active service having requested a poll on the suggestion for rehearing en banc and a majority of the judges in active service having voted in favor of granting a rehearing en banc,
IT IS ORDERED that this cause shall be reheard by the Court en banc with oral argument on a date hereafter to be fixed. The Clerk will specify a briefing schedule for the filing of supplemental briefs.

sion of a small amount of crack alone obviously raises the inference of possession absent any additional evidence,

